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James Garretson (00:00):
Hello?

Eric Goode (00:02):
Hey, James, how are you?

James Garretson (00:03):
Hey, what's going on?

Eric Goode (00:05):
Good morning. How's your day looking?

James Garretson (00:08):
Fine right now. What's going on?

Eric Goode (00:10):
Are you available maybe this afternoon, at least we could connect?

James Garretson (00:15):
Yeah. Just tell me what time.

Eric Goode (00:18):
I don't know. Let's say two o'clock.

James Garretson (00:20):
Yeah. I'm in Ardmore, so just tell me whenever you want to meet me at Ardmore. I'm at my building
downtown.

Eric Goode (00:26):
Okay. Where are you staying?

James Garretson (00:28):
I'm at my building. I have a building downtown on Broadway.

Eric Goode (00:32):
Oh, you do?

James Garretson (00:33):
Yeah.

Eric Goode (00:33):
What kind of building?



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                                                                                      Exhibit 22
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James Garretson (00:34):
It's a liquidation store.

Eric Goode (00:37):
Oh, okay. Do you want to just text me the address and I can meet you there around 2:00? I'll tell you
when I get closer to 2:00 exactly when.

James Garretson (00:44):
Yeah. I'll text. It's right on Broadway, 815 Broadway.

Eric Goode (00:48):
815 Broadway. Okay.

James Garretson (00:49):
Yeah.

Eric Goode (00:50):
All right. See you then.

James Garretson (00:50):
All right. Bye.

Eric Goode (00:51):
[crosstalk 00:00:51] Thanks, James. All right. Bye-bye.




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                                                                                         Exhibit 22
